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                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
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RCH                                               271 Cadman Plaza East
F. #2019R00927                                    Brooklyn, New York 11201


                                                  November 4, 2020

By ECF

The Honorable Brian M. Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Ivan Reyes Arzate
                     Criminal Docket No. 20-30 (BMC)

Dear Judge Cogan:

                The government respectfully submits, pursuant to Rule 16(d)(1) of the Federal
Rules of Criminal Procedure, a supplemental stipulated protective order that limits the
disclosure of certain sensitive material in the above-referenced case. The Court previously
entered a stipulated protective order on April 8, 2020. See Dkt. No. 13. The proposed
supplemental stipulated protective order will govern certain sensitive Rule 16 materials to be
produced to defense counsel, the unrestricted disclosure of certain information could create a
safety risk for potential witnesses. Accordingly, the government and counsel for the defendant
have jointly agreed to a supplemental stipulated protective order, which is attached hereto.

               For the foregoing reasons, the government respectfully requests that the Court
so-order the attached supplemental stipulated protective order.

                                                  Respectfully submitted,

                                                  SETH D. DUCHARME
                                                  Acting United States Attorney

                                           By:      /s/
                                                  Ryan C. Harris
                                                  Assistant U.S. Attorney
                                                  (718) 254-7000

cc:    Mark DeMarco, Esq.
       Clerk of the Court (BMC) (by ECF)
